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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               EASTERN DIVISION


                                                      MDL Case No. 1:22-md-03035-STA-jay
IN RE: AME CHURCH EMPLOYEE
RETIREMENT FUND LITIGATION                            ALL CASES




 ORDER DENYING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AS
                             MOOT


       This multidistrict litigation concerns claims related to the administration of the African

Methodist Episcopal (“AME”) Church Employee Retirement Fund. Before the Court is a Motion

for Preliminary Injunction (ECF No. 44) filed by Plaintiffs Reverend Pearce Ewing; Reverend

Charles R. Jackson; Reverend Cedric V. Alexander; Reverend Derrell Wade; Reverend Reuben J.

Boyd; Presiding Elder Phillip Russ, IV; Reverend Marcius King, by and through Lynette Glenn,

Power of Attorney; Reverend Matthew Ewing; Reverend A. Offord Carmichael, Jr.; and Reverend

Diane Conley on July 14, 2022. 1 Both the AME Church (ECF No. 57) and Symetra Financial

Corporation (ECF No. 56) have responded in opposition to Plaintiffs’ Motion. The Court has set

a hearing on the Motion for August 4, 2022.

       On August 3, 2022, Plaintiffs filed notice with the Court that they are withdrawing their

Motion for Preliminary Injunction based on the parties’ resolution of the dispute. In light of

Plaintiffs’ intention to withdraw their request for injunctive relief, the Motion for Preliminary




       1
          The Plaintiffs moving for a preliminary injunction constitute all of the named Plaintiffs
in the six separate civil actions, which currently make up the MDL.
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Injunction is DENIED as moot.

      IT IS SO ORDERED.

                                   s/ S. Thomas Anderson
                                   S. THOMAS ANDERSON
                                   CHIEF UNITED STATES DISTRICT JUDGE

                                   Date: August 3, 2022




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